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                          IN UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



In re Application of GEORGE W. SCHLICH
for Order to Take Discovery Pursuant to              Case No. 1:16-mc-91278
28 U.S.C. § 1782

      Applicant


        [PROPOSED] ORDER TO SHOW CAUSE WHY GEORGE W. SCHLICH
   SHOULD NOT BE GRANTED LEAVE TO CONDUCT DISCOVERY FOR USE IN
                      FOREIGN PROCEEDINGS

       George W. Schlich (“Schlich” or “Applicant”) submitted an Application for an Order

Pursuant to 28 U.S.C. § 1782 to Conduct Discovery for Use in Foreign Proceedings (“Petition”)

on September 2, 2016. By its Petition, Applicant seeks discovery from The Broad Institute, Inc.,

Feng Zhang, Naomi Habib, and Le Cong (collectively “Respondents”).

       The Court has considered the evidence, arguments, and law presented, and sufficient

reason appearing, the Court rules as follows. It is hereby:

       ORDERED that Applicant shall serve Respondents by hand, facsimile, or e-mail with the

Petition and this Order no later than 5:00 p.m. on September ___, 2016; and

       ORDERED that papers in opposition to the Petition (including any objections to the

proposed subpoenas attached to the Petition as Exhibits 1-7), if any, shall be served by hand,

facsimile, or e-mail 14 days after service of the Petition; and

       ORDERED that a reply memorandum in support of the Petition (and proposed

subpoenas), if any, shall be served by hand, facsimile, or e-mail upon counsel for any party

submitting opposing papers; and

       ORDERED that Respondents show cause before this Court at a hearing on

_________________, 2016 at ___ : ___, why an order should not be issued granting Applicant’s
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Petition and requiring the requested discovery take place.



       IT IS SO ORDERED



Dated: ________________________, 2016

                                                     __________________________________
                                                     United States District Judge




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